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                                  [PROPOSED] SURREPLY

       The crux of this case is that it is a continuation of the pattern and practice of Defendants,

which conduct was set forth in the related case Klayman v. Fox, 1:18-cv-1579, and which has

now been manifest in a new, meritless disciplinary proceeding meant solely to attempt to “pile

on” to Mr. Klayman in an attempt to have him selectively prosecuted 1 and disbarred for his

politics, public interest advocacy, free speech, and in retaliation for his gender. It has been

alleged - and supported with detailed factual allegations – that each and every one of the

Defendants worked together, in concert to bring and attempt to sustain clearly non-meritorious

charges to unethically and illegally remove Mr. Klayman from the practice of law, even if it be

accomplished through draining all of his time and resources by forcing him to defend these

frivolous Complaints.

       Office of Bar Disciplinary Counsel (“ODC”) fraudulently induced a Board member to

sign off on the Specification of Charges by intentionally withholding exculpatory information.

When Mr. Klayman brought this to the attention of Defendant Esther Lim, President of the D.C.

Bar and Robert Bernius, Chair of the Board of Professional Responsibility, each of them refused

to take any remedial action, much less even conduct a basic internal investigation. This

demonstrates a clear intent to condone and ratify the illegal and unconstitutional conduct set

forth herein. Thus, Mr. Klayman was forced to file the instant complaint as he had no other

adequate remedy at law, much less an internal ethics investigation by the Bar.

I.     THE HONORABLE RONALD GOULD’S OPINION SHOWS THAT MR.
       KLAYMAN ACTED ETHICALLY


1 Although Mr. Klayman’s Amended Complaint properly pleads the selective prosecution aspect
of Defendants’ misconduct, Mr. Klayman will move to amend in this regard should this Court
require more specificity, including the fact that Defendants have refused to discipline, much less
even investigate liberal and leftist attorneys Lanny Davis and David Kendall, while entertaining
complaints against Kellyanne Conway and the Honorable Brett Kavanaugh.



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       Defendants disingenuously attempt to mischaracterize the factual findings of the

Honorable Ronald Gould (“Judge Gould”). Nothing in Defendants’ reply brief can alter the fact

that Judge Gould make the factual finding that “Klayman properly disclosed the ongoing

disciplinary proceeding in his initial application for pro hac vice admission, saying that the

proceeding had not yet been resolved. This disclosure was accurate.” Bundy v. United States

Dist. Court (In re Bundy), 840 F.3d 1034, 1054 (9th Cir. Oct. 28, 2016). Whether Mr. Klayman

accurately disclosed the ongoing disciplinary proceeding is a question of fact. Judge Gould’s

factual finding leaves no absolutely no room for interpretation. “This disclosure was accurate.”

       Defendants attempt to “muddy the waters” by inserting excerpts of Judge Gould’s

opinion where he demonstrates that he is taking all of the facts into consideration before making

his finding. Judge Gould says that Mr. Klayman “may have come near the line of lack of candor”

and may have been “selective in his disclosures,” id., but Defendants conveniently omit the fact

that Judge Gould made the determination that neither of these considerations warranted denial of

Mr. Klayman’s pro hac vice application, much more constituted an ethical violation. Indeed, at

the end, Judge Gould still reasoned:

       I agree with Klayman that he was not obligated to re-litigate the D.C. proceeding
       before the district court and that he did not have to provide the district court with
       the entire record from D.C. And if his disclosures were selective, still he is an
       advocate, an advocate representing defendant Cliven Bundy, and after submitting
       a compliant response to the questions in the pro hac vice application, he had no
       greater duty to disclose any possible blemish on his career or reputation beyond
       responding to the district court's further direct requests. Id. at 1055 (emphasis
       added). Comp. ¶ 34.

       Indeed, the fact that Judge Gould obviously weighed the possibility that Mr. Klayman

“may have come near the line of lack of candor” and still felt strongly that Mr. Klayman should

be admitted pro hac vice and thus supports Mr. Klayman’s application based on the facts and the




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law. By concluding that Mr. Klayman should have been admitted, Judge Gould necessarily

makes the finding that no ethical violations occurred. Reasoning otherwise would make no sense

– no jurist would conclude that an attorney committed ethical violations yet strongly advocate for

his admission pro hac vice in the very same opinion.

        Tellingly, in a subsequent opinion, Judge Gould explicitly makes the finding that Mr.

Klayman has not done anything to warrant disbarment, which is the penalty that Defendants have

unethically, illegally, and unconstitutionally attempted to pursue:

        And I continue to believe that Bundy's needs for experienced defense counsel of
        his choosing are more important than the articulated concerns about Larry
        Klayman's ethics, where he has not been disbarred or suspended by another
        bar association or proven to have engaged in unethical conduct that could
        justify disbarment. Bundy v. United States Dist. Court (In re Bundy), 852 F.3d
        945, 953 (9th Cir. 2017) (emphasis added).

This factual finding, which was conveniently not included but instead intentionally omitted in

Defendant’s reply brief, emphatically shows that Judge Gould found that none of the conduct at

issue could possibly justify disbarment. There is no room for interpretation here.

        Lastly, Defendants attempt to disingenuously assert that no fraudulent concealment

occurred because Judge Gould’s opinions happened to be published. This assumes that the Board

member signing off on the Specification of Charges would take the time to conduct extensive

independent research outside of what is presented to him or her by ODC. This factual assertion

has no place in the motion to dismiss stage, and is precisely why discovery is required in this

case.

II.     THERE CAN BE NO IMMUNITY FOR SERIOUS CONSTITUTIONAL
        VIOLATIONS

        Defendants’ Reply fails to address the U.S. Court of Appeals for the Seventh Circuit’s

(“Seventh Circuit”) landmark opinion in Fields v. Wharrie, 740 F.3d 1107 (7th Cir. 2014), which




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held that even “absolute” prosecutorial/judicial immunity cannot withstand serious constitutional

violations, such as procuring testimony that is known to be false. Id. at 1110. Tellingly, this is the

exact same type of serious constitutional violation that is alleged in Mr. Klayman’s Complaint.

       Like Fields, the alleged misconduct herein occurred before trial, or in this bar

disciplinary context, the ultimate hearing. Whereas the prosecutor in Fields was accused of

fabricating evidence by knowingly procuring false testimony before Fields’ arrest, the Individual

Bar Counsel and the other Defendants are alleged to have intentionally withheld material

information and evidence to fraudulently induce a member of the Board to sign off on the Bundy

Complaint, which in this context is akin to an “arrest,” if not fraudulently induced indictment.

Comp. ¶ 103. Where the prosecutor in Fields knew that the testimony procured was false, and

therefore there was no basis to arrest and prosecute Fields, who was later exonerated after

spending seventeen years in prison, the Complaint here also alleges that the Individual Bar

Counsel and the other Defendants are knowingly pursuing a frivolous complaint, the equivalent

of a fraudulent indictment, if not arrest, against Mr. Klayman. As such, just as the Seventh

Circuit found that there can be no absolute prosecutorial immunity, much less even qualified

immunity, for this type of misconduct, this Court must also step in to inform Defendants that

they do not hold a “license to lawless conduct.” Id.

       Where there cannot be a grant of absolute immunity, there certainly can not be a grant of

qualified immunity. 42 U.S.C. § 1983 expressly grants a cause of action for violations of

constitutional rights. It is well established that any qualified immunity defense can only be

asserted where the government official’s “conduct does not violate clearly established statutory

or constitutional rights of which a reasonable person would have known.” Harlow v. Fitzgerald,

457 U.S. 800, 818 (1982). It is abundantly clear that a violation of well established constitutional




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rights - namely the First Amendment and Fourteenth Amendment – are those that a reasonable

person would have known, and as pled herein by Mr. Klayman, precludes any such qualified

immunity defense.

III.    DEFENDANTS MISSTATE THE LAW

       In arguing that Defendant Lim and Defendant DC Bar should be dismissed for a

purported lack of supervisory authority over Defendant ODC, Defendants assert Ford v. Tait,

163 F. Supp. 2d 57, 67 (D.D.C. 2001) as “dismissing substantially similar complaint against the

D.C. Bar2.” What Defendants withhold is the fact that Ford does not dismiss the D.C. Bar as a

Defendant based on its purported lack of supervisory authority. The legal analysis in Ford is

limited to an application of the Younger abstention doctrine, which Defendants do not discuss in

their reply, but which is in any event inapplicable for the reasons set forth in Mr. Klayman’s

opposition. The Ford Court expressly writes, “Accordingly, the court dismisses the action

on Younger equitable-restraint grounds. The court therefore need not reach the merits of the

defendants' motion to dismiss for failure to state a claim on which relief may be granted, their

judicial-immunity argument, or their assertion that the court lacks jurisdiction under the Rooker-

Feldman doctrine.” Id. at 67. As such, Defendants’ reliance on Ford for their assertion that the

D.C. Bar and Lim should be dismissed for a purported lack of supervisory authority is

misleading and misplaced.

       Indeed, nothing in Defendants’ reply changes the fact that the attorneys employed at

Defendant ODC are licensed to practice in the District of Columbia, and are therefore subject to


2It is not even certain that the D.C. Bar was a party to this litigation, as the introduction to the
opinion lists the Defendants as “Bar Counsel Joyce Peters, Assistant Bar Counsel Traci Tait, and
Executive Attorney for the Board of Professional Responsibility Elizabeth Branda.” Ford v.
Tait163 F. Supp. 2d 57, 58 (D.D.C. 2001). The only mention of the D.C. Bar as a Defendant is in
section II(A), where it is mentioned in passing.




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the same rules of professional responsibility – which are listed on the D.C. Bar’s website – that

every other District of Columbia attorney is subject to. When ODC attorneys violate these rules,

they must be subject to the same consequences. They are not above the ethics and the law.

IV.    MR. KLAYMAN CONSENTS TO CONSOLIDATION

       As set forth in Mr. Klayman’s brief in opposition, Defendants’ argument that this

Complaint should be dismissed due to “claim splitting” is without any merit. However, in the

interest of judicial economy and allowing these matters to proceed as quickly as possible, in

addition to mooting this non-issue, as the events of this Lim et. al complaint arose after the Fox

et. al prior complaint, Mr. Klayman consents to consolidation of this case with Klayman v. Fox.

Dated: January 4, 2019                              Respectfully submitted,

                                                    /s/ Larry Klayman
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                                                    Pro se




                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a true and correct copy of the foregoing was filed

electronically and served through the court’s ECF system to all counsel of record or parties on

January 4, 2019.


                                                    /s/ Larry Klayman
                                                    Attorney




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